Case No. 1:17-cr-00168-CMA       Document 63      filed 10/04/18   USDC Colorado       pg 1
                                         of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-cr-00168-CMA

UNITED STATES OF AMERICA,

              Plaintiff,

v.

KAREN MC CLAFLIN

           Defendant.
_____________________________________________________________________

              MOTION TO RESTRICT DOCUMENT #64 and #65
_____________________________________________________________________
     Karen McClaflin, by and through her attorney, Thomas J. Hammond (appearing

pro bono), and pursuant to D.C.COLO.LCrR 47.1 moves this Court to grant Level II

restricted access to (1) Document #64 , (2) the brief in support of this motion (Doc.# 65),

and (3) any Order revealing the contents of Document #64 and #65. The brief justifying

restriction is filed contemporaneously with this request.

                                                 Respectfully submitted,



                                                 s/ Thomas J. Hammond
                                                 Thomas J. Hammond
                                                 Thomas J. Hammond, P.C.
                                                 1544 Race Street
                                                 Denver, Colorado 80206
                                                 303-321-7902
                                                 Fax: (303)329-5871
                                                 Email: hammondlaw@solucian.com

                                                 Attorney for Karen McClaflin
Case No. 1:17-cr-00168-CMA      Document 63       filed 10/04/18   USDC Colorado          pg 2
                                        of 2




                              CERTIFICATE OF SERVICE

       I hereby certify that on October 4, 2018, I electronically filed the foregoing
MOTION TO RESTRICT DOCUMENT #64 and #65 with the Clerk of the Court using
the CM/ECF filing system which will send notification of such filing to the appropriate
parties.



s/ Thomas J. Hammond
Thomas J. Hammond
